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                            -
A 0 245B (Rev 06/05) Sheet I Judgmeot in a Criminal Case



                                UNITED STATES DISTRICT COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DMSION



UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                 CASE NUMBER: 8:04sr-545-T-30EAJ
                                                                 USM NUMBER: 42446-018




                                                                 Defendant's Attorney: Donna Rose, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE and TWO of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the wnit.
- was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                         NATURE OF OFFENSE                                   OFFENSE ENDED               COUNT

46 App, U.S.C. $1903(a) and             Aided and Abetted in the Possession With Intent     November 2, 2004            One
1903(g) and 21 U.S.C. 5 960             to Distribute 5 Kilograms or More of Cocaine
(b)(lf(B)(ii)                           While Aboard a Vessel Subject to the Jurisdiction
                                        of the United States

46 Appendix, U.S.C. $§1903(a), Conspiracy to Possess With Intent to Distribute              November 2, 2004            Two
1903(g) and 1903Cj) and 21     Five Kilograms or More of Cocaine, While
U.S.C. $960@)(1)(B)(ii)        Aboard a Vessel Subject to the Jurisdiction
                               of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on wunt(s)
- Count(s) (&)(are)dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Anorney for thisdistrict within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                   Date of Imposition of Sentence: April 15, 2035




                                                                                              STATES DISTRIC

                                                                                   DATE: January      /f,2M)7
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment
Defendant:          LEONARD0 SOLIS                                                      Judgment - Page 2 of 6
Case No. :          894-cr-545-T-30EAJ

                                                             IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
    3553(a)(1)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FIFTY-SEVEN (57) MONTHS as to Counts One and Two of the Indictment; all such terms
to run concurrently.



X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman,
-
if possible.



-
X The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          -as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          -as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to                                at

                                                                       , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                       By:

                                                                       Deputy Marshal
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A 0 245B (Rev. 06/05]Sheet 3 - Supervised Release

Defendant:           LEONARD0 SOLIS                                                                     Judgment - Page 3of 6
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                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Counts One and Two of the Indictment; all such terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the permission of the court or probation oficer;

            the defendant shall report to the probation ofticer and shall submit a truthful and coniplete written report within the tirst five days of each
            month;

            the defendant shall answer truthfully all inquiries by the probation ofticer and follow the instructions of the probation officer;

            the defendant shall support his or hcr dependents and meet other family responsibilities;

            the defendant shall work regularly at a lawful occupation, unless excused by the probation ofticer for schooling, training, or other
            acceptable reasons;

            the defendant shall notify the probation ofticer at least ten days prior to any changc in residence or employment;

            the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;

            the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation ofticer:

            the defendant shall permit a probation ofticer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation ofticer;

            the defendant shall notify the probation ofticer within seventy-two hours of being urrestcd or qucstioncd by a law enforcement officer;

            the defendant shall not enter into any agreement to act as an informer or a special agcnt of n law enforcement agency without the
            permission of the court;

            as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioncd by the dcfcndant's criminal rccord
            or personal history or characteristics and shall permit the probation ofiicer to makc such notifications and to confirm the defendant's
            compliance with such notitication requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release
                -   - -                                                                                               ---

Defendant:                LEONARD0 SOLIS                                             Judgment - Page 4 of 6
Case No. :                8:04-cr-545-T-3OEA.l
                                             SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          If the defendant be deported. helshe shall not be allowed to re-enter the United States without the express permission of the
           appropriate governmental authority.

-
X          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
           determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104ests
           per year.
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A 0 2458 (Rev 06/05) Sheet 5 - Criminal Monetary Penalties

Defendant:           LEONARD0 SOLlS                                                   Judgment - Page 5 of 6
Case No. :           8:04-cr-545-T-3OEA.J

                                                CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            -
                                                                      Fine                      Total Restitution

          Totals:               $200.00                               Waived                    N/A


-         The determination of restitution is deferred until            .      An Amended Judgment in a Criminal Case ( A 0 245C) will
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or ercenta e payment column below. However. pursuant to 18 U.S.C. $
          3664(i). all nonfederal victims must be paifbefore h e United States.
                                                                                                                Priority Order or
                                                       *Total                     Amount of                     Percentage of
 Name of Payee                                       Amount of Loss            Restitution Ordered              Payment




                                Totals:              L                         $


           Restitution amount ordered pursuant to plea agreement $
          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U. S.C. 5 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine          - restitution.

         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1 10A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments

Defendant:        LEONARD0 SOLIS                                                   Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                    , or
                            -in accordance - C, - D, - E or - F below: or
                  Payment to begin immediately (may be combined with -C, -D, or -F below): or
                  Payment in equal                  (e.g., weekly, monthly, quarterly) installn~entsof $              over a
                  period of          (e.g ., months or years), to commence             days (e .g ., 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                                (e .g ., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                           payment of criminal
                                        e:
monetary penalties is due during im risonment. All criminal monetary penalties. except
Federal Bureau of Prisons' Inmate inancial Responsibility Program, are made to the
                                                                                                                      made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s) :
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                                                                                                      ll
or portions thereof. subject to forfeiture, which are in the possession or control of t e efendant or the defendant's
nominees.



Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
